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                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ESTATE OF JUSTIN PAUL SMITH BY CIVIL ACTION
 CHRISTINA A. SMITH, INDIVIDUALLY
 AND    AS  WIFE    AND    AS  CO- NO. 21-4395
 ADMINISTRATRIX; GIANNA SMITH,
 INDIVIDUALLY AND AS DAUGHTER AND
 CO-ADMINISTRATRIX & LISA GAVIN,
 ON BEHALF OF HER MINOR SON JUSTIN
 SMITH
 v.

 CITY OF PHILADELPHIA & OFFICER
 KURT MCKEE

                                                             ORDER

          AND NOW, this 20th day of January, 2022, it is hereby ORDERED that Defendants’

Motion to Dismiss (ECF 2) is DENIED as MOOT because Plaintiff filed an Amended

Complaint on October 26, 2021 (ECF 6).




                                                                  BY THE COURT:

                                                                  /s/ MICHAEL M. BAYLSON

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                                                                  MICHAEL M. BAYLSON, U.S.D.J.



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